        Case 2:18-cv-00521-WKW-GMB Document 15 Filed 09/04/18 Page 1 of 5




                              IN THE UNITED STATES DISTRICT COURT FOR THE
                                       MIDDLE DISTRICT OF ALA
                                      Civil Rights         DIVISION
                                                                                                                EIVED
                                                                                                2018 SEP                P 12: 3Li
Euphrates Earl Bean
                                                                                              DEBRA P. HACKETT, CLK
                                                                                               U.S. DISTRICT COURT
                                                                                                V1FITI:    7
           Plaintiff(s),                                                             CIVIL ACTION NO. 2:1 8-cv-00521-WKW-TFM

                                                                                     JURY DEMAND(MARK ONE)

          V.                                                                         OYES                   ONO
City of Montgomery, Alabama U.S.A


           Defendant(s).

                                                                   COMPLAINT

1.         Plaintiff(s)' address and telephone number:3240 Lyons Ave. Apt.#B Norfolk, VA 23509 / 334-403-2469



2.         Name and address of defendant(s): City of Montgomery, Alabama U.S.A 103 N. Perry St. Montgomery, AL 36104-3728




3.         Place of alleged violation of civil rights: 8125A Atlanta Hwy. Montgomery, Alabama 36117


4.         Date of alleged violation of civil rights: September 08, 2016

5.          State the facts on which you base your allegation that your constitutional rights have been
            violated: 14th amendment equal protection of the law to all citizens; 13th Amendment slaved about 15 hours
Title 18, U.S.C., Section 242 - Deprivation of Rights Under Color of Law with use of a firearm (lst,4th,5th and 14th Amendments)
Title 18, U.S.C., Section 241 - Conspiracy Against Rights (Officer threatened plaintiff in court, police officers literally followed
plaintiff through out Montgomery, AL USA after the false arrest) 8th Amendment no crime equals no bail/excessive
Title 42, U.S.C., Section 14141 - Pattem and Practice a. Excessive Force b. Disaiminatory Harassment c. False Arrest d. Unlawful Stops, Searches, or Arrests

 7th Amendment Magistrate misfeasance indicating signature bond instead of cash bond issuing 26 outstanding warrants on the plaintiff
6th Amendment nature and cause misinformation conspired from illegally parked to not standing-up to disorderly conduct

                                                                              1
       Case 2:18-cv-00521-WKW-GMB Document 15 Filed 09/04/18 Page 2 of 5


        2:18-cv-00521-WKW-TFM
6.        Relief requested: Lifetime cost of prescription medications $2,000,000; $350,000 for wrongful seizure of property;
$750,000 for unreasonable force; $850,000 for false arrest, malicious prosecution, and withholding exculpatory evidence;
$465,000 for failure to provide medical treatment; $3,000,000 for pain and suffering; $3,000,000 for injuries
$3,320,000 for unlawful detention;
$5,000,000 for emotional distress (Afraid to go to the gym or out in public has gained 80 pounds since the unlawful attack)PTSD
$110,029 annually to recoup loss of past and future income due to disabling injuries under color of law 2016 - 2052 based on an
average life expectancy of a black male being 36 years old at the time of injury(72 years old) equals $3,600,000
All relief amounts are net, after taxes. All relief multiplied by 10 for hate crime committed under color of law.
l agree to suppress all and any communication of the event, moving fonvard.




                        4                                                         /•
                                         /. ) 20/S                           •            ear    Ar   A

                                                                                        slgrifnafu 4111.




                                                                     2
       Case 2:18-cv-00521-WKW-GMB Document 15 Filed 09/04/18 Page 3 of 5
2:18-cv-00521-WKW-TFM


   1. 1st Amendment violated; Congress shall make no law abridging the freedom of speech
          a. The plaintiff made no threat to the defendant's safety.
          b. Plaintiff was handcuffed, called the defendant a Klansman, and suffered a beating
   2. 4th Amendment violated; and warrants issued without probable cause
          a. Plaintiff was arrested for exercising the liberty and right to use property
             (Affidavit)
          b. Plaintiff exercised liberty with the highest degree ofcare and did not resist the
             unlawful arrest.
   3. 5th Amendment violated; nor be deprived of life, liberty, or property without due process
      oflaw
          a. Defendants created a false vehicle impound report to deprive the plaintiff of
             property under color oflaw.(Vehicle Impound Report# 2016-25772)Seamon
              Wrecker Service (P.O.#25772)(Invoice #36415-1)
          b. Defendant conspired and changed the cause oftow from illegally parked, to no
             tag / safe streets.(Deposition and Cause for impound)
          c. When a government harms a person without following the exact course of the
             law,this constitutes a due process violation, which offends the rule oflaw.
   4. 6th Amendment violated; to be informed of the nature and cause ofthe accusation
          a. Plaintiff was verbally informed ofthe nature and cause ofthe accusation as not
             standing-up, after being injured in police custody(Body Camera).
          b. Defendant conspired and changed the nature and cause of accusation to
             Disorderly Conduct.
   5. 7th Amendment violated; where the value in controversy shall exceed $20
          a. Magistrate documented signature bond instead of $35 cash bond required for
             release as documented in the Case Summary payments.(Misfeasance)
          b. Paid to retrieve property from impound
   6. 8th Amendment violated; no excessive bail, nor cruel and unusual punishments inflicted.
          a. No priors and local to the community; a signature bond is standard
          b. The plaintiff was not offered a place to stool or urinate for 15 hours of cruel and
             unusual punishment.
          c. Plaintiff not guilty, any fine is excessive
   7. 13th Amendment violated; neither slavery nor involuntary servitude, except as a
      punishment for crime whereofthe party shall have been duly convicted
          a. Neither nor are idioms used to introduce alternatives which are BOTH negative in
             formal writing i.e. The Constitution and The Declaration
          b. Involuntary servitude is a mutually inclusive probability of slavery.
          c. A slave is captive, deprived of personal liberty, and the right to move about
             geographically as desired...i.e. arrested, captive etc.
          d. Formally! Slavery precedes involuntary servitude, in that order.
          e. The defendant slaved the plaintifffor about 15 hours without being duly
             convicted and having no prior convictions.
   8. 14th Amendment violated; Section 1 —
          a. Due process ofthe State and equal protection ofthe law to all citizens.




                                          Page 1 of 3
       Case 2:18-cv-00521-WKW-GMB Document 15 Filed 09/04/18 Page 4 of 5

2:18-cv-00521-WKW-TFM


   1. The white male defendant referenced towing a vehicle that was illegally parked.
          a. The black male plaintiff's vehicle was legally parked.(See Affidavit)
   2. The black male plaintiff asked the white male defendant,"may I help you?"
          a. The defendant removed his body camera and attacked the plaintiff.
          b. The defendant put his camera back on after attacking the plaintiff.
          c. The defendant falsely stated in municipal court that he never had a body camera.
   3. The white male defendant deprived the black male plaintiff of citizen's rights without due
      process of law.
          a. The defendant admits no one was attacked and cited no violations while arresting
              and detaining the black male plaintifffor attempting to exercise his legal rights to
              personal/business property and leave the area.(Deposition)
   4. The white male defendant deprived the black male plaintiff ofliberty rights, at gunpoint.
   5. The white male defendant swore in deposition. The black male plaintiff,"was taken into
      custody without further incident" upon arrival of another duty officer. However,the
      defendant maliciously injured the plaintiff and conspired an arrest to hide the hate crime
      committed under color of authority and law.
          a. The hate crime conspiracy, deprivation of rights and injuries to the black male
              plaintiff, under color of authority and law are obvious:(View Dash Cam,
              Deposition & Medical notes)
                   i. Knee
                  ii. Lower back
                 iii. Both elbows
                 iv. Concussion
                   v. PTSD
   6. The compliant black male plaintiff suffered a concussion, two herniated disk, torn
      muscles and mental trauma.
          a. Medical attention for the plaintiff was not offered.(Non-feasance)
          b. The defendant conspired under color oflaw via false arrest for not standing-up to
              hide the unlawful and unreasonable force(Malice and malfeasance)
          c. The defendants took the black male plaintiff to jail, for being injured.(Malice,
              malfeasance and nonfeasance)
          d. Defendants conspired a new cause for stealing the property; no tag/Safe Streets.
              (Misfeasance)
   7. At the jail, plaintiff was forced to reveal the genitals to guards.
          a. The plaintiff was locked into a solitary holding cell without food, water, a stool,
              urinal, or being processed.
          b. The plaintiff was a slave for about 15 hours
   8. The white male defendant racially profiled the black male plaintiff, made a mockery of
      justice, and committed a hate crime under color of authority and law.
          a. Plaintiff not even 1% at fault.
          b. Hate crime.




                                           Page 2 of 3
        Case 2:18-cv-00521-WKW-GMB Document 15 Filed 09/04/18 Page 5 of 5
2:18-cv-00521-WKW-TFM


To whom it may concern,


        The Plaintiff is currently 90% disabled because ofthe hate crime and injuries from the
hate crime. Unable to work, due to PTSD,Sleep Apnea,Two Herniated Discs, Damage to the
right Knee, prescribed psycho-active & pain medication, the Plaintiff deserves to be made whole.
        Please ensure protective provisions in the judgement and other measures via no taxes due
for any award. Also, allow for shaping the relief of lost income for both past and future at the
rate of$110,029 annually for The Plaintiff and include the hate multiplier of 10 yearly for 36
years. The Plaintiff is currently 90% disabled and was targeted under color of authority and law.




                    ..=-
                    rn %,::
            Zi            (--)0::
                   (-;:l 1...z    7z, --,
                          1-.... C)-
        >          0_    14  ,../ C..) r
                             ,..— 7 -
                  .z       ,-)c-   ,'.- -
        1.37.1     8       ,..,.. c__ f,.I,
                           -,E-f-- 77'
       (a)        Ca-
                  LLJ      r'l CI)
                                 '11, ':
       tief       C.")
                       <e:'-7
      Z          00 ,               _,
                       ,,:::(,..0.'.-
                       cn
                 cza laj=---:-4  1-
                                  -
                 (...$
                         CD        ''''"




                                              Page 3 of 3
